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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
___________________________________
                                    )
CYNTHIA ALLEN and KRISTINE          )
WEBB,                               )
                                    )
          Plaintiffs,               )  Civil No. 1:18-cv-3730-WMR
v.                                  )
                                    )
AT&T MOBILITY SERVICES LLC,         )
                                    )
          Defendant.                )
___________________________________ )

                                    ORDER

      It is hereby ORDERED that the Joint Motion to Extend the Fact Discovery

Plan Deadlines and Expert Discovery Deadlines is GRANTED by entering the

following revised deadlines:

Event                                                New Deadline/Date
Completion of production of documents in             January 31, 2020
response to requests for production
Completion of production of structured databases     January 31, 2020
(HR, attendance, etc.)
Fact discovery ends                                  March 31, 2020
Plaintiffs’ motion for class certification &         May 19, 2020
disclosure of experts and opinions on which they
rely in their motion
Completion of deposition of Plaintiffs’ expert(s)    No later than June 19, 2020
Defendant’s response to class certification motion   July 31, 2020
& disclosure of experts and opinions on which it
relies in its response
                                        6
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 Event                                                 New Deadline/Date
 Completion of deposition of Defendant’s expert(s) No later than September 1,
                                                       2020
 Plaintiffs’ reply in support of class certification & October 2, 2020
 disclosure of experts and opinions on which they
 rely in their reply
 Parties meet and confer to develop proposed           Within 10 days of the court’s
 scheduling order and discovery plan for the           ruling
 remainder of the proceedings                          on Plaintiffs’ motion for class
                                                       certification

      The parties are put on notice that this is an old case and this is, in essence,

the second extension of applicable dates that the Court has entered at the parties'

request. There will be no further extensions, and the parties must diligently work

to meet these deadlines.

IT IS SO ORDERED, this 17th day of December, 2019.




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